                Case 2:16-cr-00010-TLN Document 49 Filed 08/11/16 Page 1 of 3


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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-010 MCE
11
                                  Plaintiff,            STIPULATION AND FINDINGS AND ORDER TO
12                                                      CONTINUE STATUS CONFERENCE, AND TO
                            v.                          EXCLUDE TIME UNDER SPEEDY TRIAL ACT
13
     DENNA CHAMBERS AND STARSHEKA                       DATE: August 11, 2016
14   MIXON,                                             TIME: 9:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
15                                Defendants.
16
17                                               STIPULATION

18         1.      By previous order, this matter was set for status on August 4, 2016, and on the Court’s

19 own motion was reset for status on August 11, 2016.

20         2.      By this stipulation, defendants now move to continue the status conference until

21 September 29, 2016, and to exclude time between August 4, 2016, and September 29, 2016, under Local
22 Code T4.
23         3.      The parties agree and stipulate, and request that the Court find the following:

24                 a)      The government has produced over 25,000 pages of discovery associated with this

25         case, including tax returns, bank and credit card statements, investigative reports, and other

26         documents. The government has also made electronic devices and physical evidence available

27         for review.

28                 b)      Kelly Babineau, counsel for defendant Starsheka Mixon, was added as counsel of

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    1
      ORDER
             Case 2:16-cr-00010-TLN Document 49 Filed 08/11/16 Page 2 of 3


 1        record on June 22, 2016. Ms. Babineau has started to review the discovery but has been in trial

 2        in state court and needs additional time to complete her review, conduct her investigation, and

 3        discuss potential resolutions with her client. Matthew Bockmon, counsel for defendant Denna

 4        Chambers, also needs additional time to continue his investigation and discuss potential

 5        resolutions with is client.

 6                c)      Counsel for defendants believe that failure to grant the above-requested

 7        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 8        into account the exercise of due diligence.

 9                d)      The government does not object to the continuance.

10                e)      Based on the above-stated findings, the ends of justice served by continuing the

11        case as requested outweigh the interest of the public and the defendant in a trial within the

12        original date prescribed by the Speedy Trial Act.

13                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14        et seq., within which trial must commence, the time period of August 4, 2016, to September 29,

15        2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code

16        T4, because it results from a continuance granted by the Court at defendants’ request on the basis

17        of the Court’s finding that the ends of justice served by taking such action outweigh the best

18        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     2
     ORDER
                 Case 2:16-cr-00010-TLN Document 49 Filed 08/11/16 Page 3 of 3


 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: August 9, 2016                                    PHILLIP A. TALBERT
 6                                                            Acting United States Attorney
 7
                                                              /s/ SHELLEY D. WEGER
 8                                                            SHELLEY D. WEGER
                                                              Assistant United States Attorney
 9
10 Dated: August 9, 2016                                      /s/ Kelly Babineau by Shelley D. Weger
                                                              KELLY BABINEAU
11
                                                              Counsel for Defendant
12                                                            Starsheka Mixon

13
     Dated: August 9, 2016                                    /s/ Matthew Bockmon by Shelley D. Weger
14                                                            MATTHEW BOCKMON
                                                              Counsel for Defendant
15                                                            Denna Chambers
16
17
                                                       ORDER
18
            IT IS SO ORDERED.
19
     Dated: August 10, 2016
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      3
      ORDER
